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                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF NEW HAMPSHIRE

      THOMAS MARSHALL                         :
                 Plaintiff                    :
                                              :
            v.                                :   Civil Action No.
                                              :
      MERRICK GARLAND,                        :
      Attorney General of the United          :
      States,                                 :
                                              :
      STEVE DETTELBACH,                       :
      Director, Bureau of Alcohol,            :
      Tobacco, Firearms, and Explosives,      :
                                              :
      CHRISTOPHER A. WRAY,                    :   Complaint – Civil Rights
      Director of the Federal Bureau of       :
      Investigation, &                        :
                                              :
      UNITED STATES OF                        :
      AMERICA,                                :
                   Defendants                 :


                                COMPLAINT

     Plaintiff, Thomas M. Marshall, by and through his attorneys, Kurt S.
Olson of Goulden Law Offices, PLLC, complains of Defendants as follows.

                               INTRODUCTION
1. This is an action to uphold Plaintiff’s right to keep and bear arms as
   guaranteed by the Second Amendment to the United States
   Constitution. This right “guarantee[s] the individual right to possess
   and carry” firearms and “elevates above all other interests the right
   of law-abiding, responsible citizens to use arms in defense of hearth



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    and home.” District of Columbia v. Heller, 554 U.S. 570, 635 (2008).
2. More recently, the Supreme Court has expanded the reach of the
    Second Amendment in the Bruen decision, The constitutional right to
    bear arms in public for self-defense is not “a second-class right,
    subject to an entirely different body of rules than the other Bill of
    Rights guarantees.”1
3. In a recent decision that is directly relevant to this case, a district
    court in the Eastern District of Pennsylvania determined “that the
    Government has not carried its burden in proving that the United
    States’ tradition of firearm regulation supports stripping an
    individual of their right to possess a firearm because they had
    previously driven while intoxicated.” Williams v. Garland, 2023 WL
    7646490, Civil Action No. 17-cv-2641; November 14, 2023.
4. Additionally, in a recent 3rd Circuit opinion, the Court found that the
    government “has not shown that the Nation's historical tradition of
    firearms regulation supports depriving the plaintiff of his Second
    Amendment right to possess a firearm” where he’d previously been
    convicted of food stamp fraud. See Bruen, 142 S. Ct. at 2126. Range v.
    Att'y Gen. United States of Am., 69 F.4th 96, 106 (3d Cir. 2023).
5. Defendants have collectively and individually prohibited a particular
    class of persons, including Plaintiff, from obtaining, possessing,
    keeping, bearing, or otherwise utilizing firearms and ammunition as
    a result of a misdemeanor driving under the influence (“DUI”)
    conviction, where no one was injured by the conduct and where no
    property damage resulted.


    1 New York State Rifle & Pistol Ass'n, Inc. v. Bruen, 597 U.S. 1, 70, 142 S. Ct. 2111, 2156,

    213 L. Ed. 2d 387 (2022).

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6. Specifically, individuals, such as Plaintiff, who after previously
   serving two years probation for a DUI and are thereafter convicted
   of a second DUI offense in Massachusetts, pursuant to Mass. Gen.
   Laws ch. 90, s. 24 et seq., where the individual’s blood alcohol
   content is .08 or more, in the absence of harm to an individual or
   property, are stripped of their constitutional right to Keep and Bear
   Arms.
 7. Furthermore, those individuals, such as Plaintiff, are not afforded
   any means to demonstrate – following their conviction – their
   fitness to restore their Second Amendment right to acquire, possess,
    keep, bear, or otherwise utilize a firearm in his or her private
   capacity, or for the defense of his or her hearth and home, except
   through a Second Amendment as-applied challenge.
8. The current putative prohibition on individuals keeping, bearing,
    acquiring, possessing, or utilizing a firearm, as a result of a DUI
    conviction, where no one was injured and no property damaged
    occurred, infringes upon the individual’s right to Keep and Bear
    Arms, as it arbitrarily denies the entire class of persons without
    regard to the particular circumstances of that individual’s case.
9. Thus, numerous mentally sound, stable, trustworthy individuals,
   such as Plaintiff, are denied their Constitutional right to keep and
   bear arms in defense of their home, as a result of a DUI conviction,
   with no regard or consideration of the particular circumstances
   surrounding the individual.




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                               PARTIES

10. Plaintiff Thomas Marshall is a natural person and a citizen of
    Derry, New Hampshire and the United States.
11. Mr. Marshall had his first DUI in 1997 in Malden, Middlesex
    County, Massachusetts which was disposed of pursuant to an
    agreed-upon two year probationary period. In March 2005 he agreed
    to a plea for a second offense of DUI, in Woburn, Middlesex County,
    Massachusetts, where he paid a fine and served another
    probationary period.
12. It is Mr. Marshall’s present intention and desire to purchase and
    possess a handgun and a long gun for self-defense within his home.
   As Mr. Marshall is only under a Federal firearms and ammunition
   disability, he is prevented from doing so solely by Defendants’ active
   enforcement of the policies complained of in this action.
13. Defendant Merrick Garland (“Attorney General” or “Garland”) is
   being sued in his official capacity as the Attorney General of the
   United States. As Attorney General, Defendant Garland is
   responsible for executing and administering the laws, regulations,
   customs, practices, and policies of the United States. He is presently
   enforcing the laws, regulations, customs, practices, and policies
   complained of in this action. As Attorney General, Defendant
   Garland is ultimately responsible for supervising the functions and
   actions of the United States Department of Justice, including the
   ATF, which is an arm of the Department of Justice.
 14. Defendant Steve Dettelbach (“ATF Director” or “Dettelbach”) is
    being sued in his official capacity as Acting Director of the Bureau



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   of Alcohol, Tobacco, Firearms, and Explosives (“ATF”). ATF is
   responsible for, inter alia, regulating and licensing the sale,
   possession, transfer, and transportation of firearms and
   ammunition in interstate commerce.
15. As Acting Director of ATF, Defendant Dettelbach is responsible for
    the creation, implementation, execution, and administration of the
    laws, regulations, customs, practices, and policies of the United
    States. He is presently enforcing the laws, regulations, customs,
    practices, and policies complained of in this action.
16. Defendant Christopher A. Wray (“FBI Director” or “Wray”) is
    being sued in his official capacity as Director of the Federal
    Bureau of Investigation (“FBI”). FBI is the agency responsible for
    performing background checks for federal, state, and local law
   enforcement authorities via the National Instant Check System
   (“NICS”). FBI is responsible for maintaining the NICS database
   which informs law enforcement officials in the states that certain
   individuals are prohibited from acquiring, possessing, and utilizing
   a firearm. FBI sets forth policies procedures, regulations, and
   customs relating to NICS and background checks for firearm
   purchasers. As FBI Director, Defendant Wray is responsible for
   the execution of administration of these policies, procedures,
   regulations, and customs, including those complained of in this
   action.
17. Defendant United States of America (“United States”) is a proper
   party in this action pursuant to 5 U.S.C. § 702.




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                        JURISDICTION AND VENUE
18. This case concerns certain subject matter under the original and
   exclusive jurisdiction of the federal courts of the United States of
   America.
19. This action seeks relief pursuant to 28 U.S.C. §§ 1331, 1343, 1346,
   2201, 2202, 2412, and 5 U.S.C. § 702. Therefore, jurisdiction is
   founded on 28 U.S.C. § 1331, as this action arises under the
   Constitution and laws of the United States.
20. This Court has authority to award costs and attorney fees
   pursuant to 28 U.S.C. § 2412 and 18 U.S.C. § 925a.
21. Venue is proper in this district pursuant to 28 U.S.C. §
   1391(e)(1)(B) and (C), as a substantial part of the events and
    omissions giving rise to the claims occurred in the District of
    New Hampshire.
       STATEMENT OF FACTS RELATING TO PLAINTIFF
  22, The foregoing paragraphs are incorporated herein as if set forth in
      full.
  23. Mr. Marshall:
        a. Is a United States citizen;
        b. Is over the age of 21;
        c. Is not under indictment;
        d. Has never been convicted of a felony or misdemeanor
              crime of domestic violence;
        e. Has only once been convicted of a crime punishable by more
              than one (1) year;




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     f. Is not a fugitive from justice;
     g. Is not an unlawful user of, or addicted to, any controlled
        substance;
     h. Has not been adjudicated a mental defective or been
        committed to a mental institution;
     i. Has not been discharged from the Armed Forces under
       dishonorable conditions;
     j. Has never renounced his citizenship; and,
     k. Is not the subject of a restraining order relating to an
        intimate partner.
24. Mr. Marshall served a two-year probationary period for his
   first DUI offense in 1997 in Malden, Middlesex County,
   Massachusetts. He has requested that the Commonwealth
   seal this record because expungement is not available for this
   particular offense. See Criminal Docket No. 9750 CR 2181,
   attached hereto and incorporated as Exhibit A.
25. In 2004 Mr. Marshall pled guilty to a second DUI, pursuant to
   Section 24 of Chapter 90 of the Massachusetts General Laws
   which can be punished by up to 2 1/2 years in jail. See,
   Criminal Docket No. 0453 CR 1673, attached hereto and
   incorporated as Exhibit B.
26. As reflected on Mr. Marshall’s New Hampshire State Police
   Criminal Record, he has no criminal convictions in the State
   of New Hampshire, where he has lived since October 2023. See,
   NH State Police Criminal Record, attached hereto and
   incorporated as Exhibit C.




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 27. As a result of his conviction, Mr. Marshall was ordered to pay
      costs, a fine, and complete any recommended drug and
      alcohol treatment.
   28. Unfortunately, as few attorneys, district attorneys, and judges
      are aware of or understand the federally prohibiting criteria,
      Mr. Marshall was not informed that this conviction would
      putatively strip him of his right to Keep and Bear Arms, pursuant
      to 18 U.S.C. § 922(g)(1).
 29. Mr. Marshall has worked for the past 3 and 1/2 years as
     a Senior IT Infrastructure Engineer at Boston Analytical and for
     22 years prior to that was a Systems Engineer at Navisite.
 30. Sometime late in 2023, Mr. Marshall, concerned for his and his
    family’s safety and desiring to be able to protect himself and his
    family in their home, attempted to procure a firearm and was
    denied by the New Hampshire State Police. See, NH State Police
    Order of Denial, attached hereto and incorporated as Exhibit D.
31. As Mr. Marshall was unaware of any putative disability, he
   had attempted to purchase a firearm to which the New
   Hampshire State Police Permits and Licensing Unit
   responded, stating that he was denied by the Federal Bureau
   of Investigation, as his 1997 and 2005 convictions for DUI in
   Massachusetts were putatively prohibiting under 18 U.S.C. §
   922(g)(1).
32. Thus, as a result of his isolated 1997 and 2005 DUI convictions,
   Defendants contend that Plaintiff Marshall lost his right to own,
   possess, use, or purchase a firearm or ammunition by operation
   of 18 U.S.C.§ 922(g)(1).


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33. Counsel has confirmed that an individual convicted of a
    misdemeanor DUI is prohibited under Section 922(g)(1), and there
    is currently no mechanism available in New Hampshire or under
    federal law for Mr. Marshall to obtain relief from his federal
    disability, as a result of his isolated DUI convictions.
 34. Mr. Marshall is a responsible, law-abiding citizen with no history of
    violent behavior or other conduct that would suggest he poses any
    threat or danger.
 35. Mr. Marshall desires and intends to purchase, possess and utilize
     firearms for self-defense and for defense of his family, including
    within his home.
 36. Mr. Marshall, after learning of the Defendants’ position in relation
    to his 1997 and 2005 convictions, has abstained from attempting to
    purchase a firearm for fear of arrest, prosecution, incarceration,
    and/or fine, pursuant to 18 U.S.C. § 922(g)(1), instigated and
    directed by Defendants, should he attempt to purchase or possess a
    firearm.
 37. Mr. Marshall is unwilling to purchase, possess or utilize a firearm,
    because doing so would subject him to arrest, prosecution, fine and
    incarceration, at Defendants’ instigation and direction, for
    violating 18 U.S.C. § 922(g)(1).
38. Therefore, Mr. Marshall cannot possess a firearm within his own
    home for the protection of himself or his family, the core of the
    fundamental right guaranteed by the Second Amendment. See
   District of Columbia v. Heller, 554 U.S. 570, 581 (2008).




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                     STATUTES AND REGULATIONS
39. 18 U.S.C. § 922(g) provides the following:

                 (g) It shall be unlawful for any person –
 …

           (1) who has been convicted in any court of, a crime punishable
by imprisonment for a term exceeding one year;
      …
               to ship or transport in interstate or foreign commerce, or
possess in or affecting commerce, any firearm or ammunition; or to receive
any firearm or ammunition which has been shipped or transported in
interstate or foreign commerce

40. Pursuant to 18 U.S.C. § 921(a)(20)

      The term “crime punishable by imprisonment for a term exceeding
      one year” does not include –

      (A) any Federal or State offenses pertaining to antitrust
     violations, unfair trade practices, restraints of trade, or other
     similar offenses relating to the regulation of business practices, or
            (B) any State offense classified by the laws of the State as
            a misdemeanor and punishable by a term of imprisonment
            of two years or less.

                  What constitutes a conviction of such a crime shall be
               determined in accordance with the law of the jurisdiction
               in which the proceedings were held. Any conviction which
               has been expunged, or set aside or for which a person has
               been pardoned or has had civil rights restored shall not
               be considered a conviction for purposes of this chapter,
               unless such pardon, expungement, or restoration of civil
               rights expressly provides that the person may not ship,
               transport, possess, or receive firearms




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41. Pursuant to Section 24 of Chapter 90 of the Massachusetts General
   Laws, where an individual is found guilty of a second DUI offense,
    he can be punished by up to two and one-half years in jail.
42. Therefore, Mr. Marshall’s convictions are punishable by terms of
    imprisonment of up to 2 ½ years which, pursuant to 18 U.S.C. §§
   921(a)(20) and 922(g)(1) are crimes punishable by imprisonment for a
    term exceeding one year.
43. While DUI is not to be countenanced, it is not a serious crime, as
    historically viewed by the Founding Fathers.
44. In fact, the Third Circuit in Binderup acknowledged that a
    misdemeanor corruption of a minor conviction and a misdemeanor
    conviction for unlawfully carrying a firearm were not historically
    serious enough crimes to strip one of his/her Second Amendment
    right. 836 F.3d at 351.
 45. Similar to the crimes involved in Binderup, a DUI does not involve
    violence, and there is not an element of violence which the state
    must prove to convict. Id. at 352.
 46. Furthermore, consistent with the Third Circuit’s decision in
    Binderup, Mr. Marshall’s plea agreement was minor by any measure.
 47. Moreover, the cross-jurisdictional consensus regarding the
    seriousness of such an offense is rather disparate in some regards
    but in no circumstance do they support the loss of a constitutional
    right, as a result of a second offense.
 48. All states have laws which prohibit DUI, with the majority having
    the limit of an individuals BAC .08%, save for Utah which recently
    passed a law reducing it to .05%.




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49. Binderup not only requires an analysis of whether there is a
   consensus amongst the states to punish the disqualifying offense but
   also whether there is a consensus to the severity of such
   punishment.
50. With regards to DUI, states disparately punish the offense based on
    a variety of factors including:
         a. Number and frequency of prior offenses;
         b. Severity of the BAC;
         c. Age and occupation of the offender (i.e. whether the
           offender is a commercial or bus driver);
        d. Whether a minor was present in the vehicle; and
        e. Whether the offense resulted in harm to another.
51. However, in relation to the severity of any statutorily approved
   punishment, the cross-jurisdictional consensus lacks any support
    for stripping an individual, as a result of a second DUI, from
    his/her right to keep and bear arms, in perpetuity.
52. Pursuant 18 U.S.C. § 925(c), an individual prohibited from
    acquiring a firearm may apply to the Attorney General for relief
    from the prohibition, which the Attorney General may grant if “the
    applicant will not be likely to act in a manner dangerous to public
    safety and that the granting of the relief would not be contrary to
    the public interest.”
 53. The ATF has promulgated a rule detailing the manner that a review
     under 18 U.S.C. § 925(c) may be sought. See, 27 C.F.R. § 478.144.
 54. However, notwithstanding the provisions of 18 U.S.C. § 925(c)
     and 27 C.F.R.§ 478.144, which purport to provide a means to




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    request relief for an individual prohibited from acquiring a
    firearm, the United States Congress has specifically denied any
    funding “to investigate or act upon applications for relief from
    Federal firearms disabilities under 18 U.S.C. 925(c).” The
    Consolidated and Further Continuing Appropriations Act, 2015,
    Pub. L. No. 113–235, 128 Stat. 2130, which was re-enacted by the
    Further Continuing Appropriations Act, 2016, Pub. L. No. 114-96,
    129 Stat. 2193.
 55. Due to the above lack of funding, ATF does not in fact provide
    any review under 18 U.S.C. § 925(c) to provide relief from a
    federal prohibition on purchasing, possessing or utilizing a
    firearm.
 56. Because Defendant ATF does not provide a review for relief from
    a federal prohibition on acquiring or possessing a firearm,
    Plaintiff Marshall cannot avail himself of any federal procedure
    to vindicate his Second Amendment rights on the basis that he
    does not present a threat to himself or others.
 57. There is currently no mechanism available in New Hampshire or
    under federal law for Mr. Marshall to obtain relief from his
    federal disability, as a result of his conviction, absent a Second
    Amendment as-applied challenge.
   COUNT I: SECOND AMENDMENT AS-APPLIED VIOLATIONS
                      (Plaintiff v. All Defendants)
58. The foregoing paragraphs are hereby incorporated herein as if
    set forth full.




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 59. The Second Amendment states that “the right of the people to
      keep and bear arms shall not be infringed.”
 60. The Supreme Court has held that the right to keep and bear arms
   is a fundamental right, the core of which is to allow individuals to
   keep arms in their own homes for self-defense. District of Columbia
   v. Heller, 554 U.S. 570, 581 (2008).
 61. The Third Circuit Court of Appeals in Binderup v. AG of United
     States, 836 F.3d 336 (3d Cir. 2016) held that an individual can
     successfully bring a Second Amendment as-applied challenge to a
     non-violent misdemeanor conviction which results in a firearm
     and ammunition disability.
 62. Defendants Garland, Dettelbach, Wray and the United States
     have, together and separately, violated Mr. Marshall’s Second
     Amendment rights by denying him the ability to purchase and
     possess a firearm as a result of a DUI conviction, where no one
     was injured and no property damages resulted.
63. Defendants’ custom, practice, and policy of prohibiting individuals
    who have been convicted of a DUI is an infringement and an
    impermissible burden on Mr. Marshall’s right to Keep and Bear
    Arms pursuant to the Second Amendment of the U.S. Constitution,
   especially in light of the fact that his crime is not historically
   considered to be a serious offense and his sentence was relatively
   minor.
64. Moreover, the current enforcement policies of Defendants prevent
    Mr. Marshall from legally purchasing or possessing a firearm and
    ammunition.




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  65. Moreover, the current enforcement policies of Defendants prevent
      Mr. Marshall from legally purchasing or possessing a firearm and
      ammunition.
  66. Therefore, as a direct and proximate result of the above
       infringement and impermissible burden on Mr. Marshall’s Second
       Amendment rights, Mr. Marshall has suffered – and continues to
       suffer – from an unlawful deprivation of his fundamental
        constitutional right to Keep and Bear Arms.
   67. Mr. Marshall has incurred attorney fees and costs as a
   direct result of prosecuting the present court action.
                          PRAYER FOR RELIEF
    WHEREFORE, Plaintiff Thomas Marshall respectfully requests that
this Honorable Court enter judgment in his favor and against Defendants,
as follows:
    (a) Declare that 18 U.S.C. § 922(g)(1), its derivative regulations, and
    all related laws, policies, and procedures violate Plaintiff’s right to
    Keep and Bear Arms as guaranteed by the Second Amendment to the
    United States Constitution;
    (b) Permanently enjoin Defendants, their officers, agents, servants,
    employees, and all persons in active concert or participation with
    them from enforcing against Plaintiff 18 U.S.C. § 922(g)(1) and
    all its derivative regulations, and all related laws, policies, and




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   procedures that would impede or criminalize Plaintiff’s exercise of
   his right to Keep and Bear Arms;
   (c) Award Plaintiff costs and attorney fees and expenses to the
   extent permitted under 28 U.S.C. § 2412 and 18 U.S.C. § 925a; and
   (d) Grant any and all other equitable and/or legal remedies this
   Court may see fit.



                                         Respectfully Submitted,


Dated: June 30, 2024                     /s/ Kurt S. Olson
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